        Case 1:16-cv-01241-TWT Document 339 Filed 08/11/23 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


 ROTHSCHILD CONNECTED DEVICES
 INNOVATIONS, LLC,
               Plaintiff,                         CIVIL ACTION FILE

 vs.                                               NO. 1:16-cv-1241-TWT

 COCA COLA COMPANY,
              Defendant.



                                     JUDGMENT

       This action having come before the court, Honorable Thomas W. Thrash, Jr.,

United States District Judge, for consideration of defendant ‘s Motion for Summary

Judgment, and the court having granted in part and denied in part said motion, it is

       Ordered and Adjudged that the plaintiff take nothing; that the defendant recover

its costs of this action, and the action be, and the same hereby is, dismissed.

       Dated at Atlanta, Georgia, this 11th day of August, 2023.


                                                         KEVIN P. WEIMER
                                                         CLERK OF COURT


                                                   By:   s/ D. Barfield
                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
August 11, 2023
Kevin P. Weimer
Clerk of Court

By: s/ D. Barfield
       Deputy Clerk
